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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                  August 04, 2020
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

RONALD JEFFREY PRIBLE,                       §
                                             §
         Petitioner,                         §
VS.                                          § CIVIL ACTION NO. 4:09-CV-01896
                                             §
LORIE DAVIS,                                 §
                                             §
         Respondent.                         §

                                         ORDER

       Petitioner Ronald Jeffrey Prible has filed an Emergency Motion for Release on

Bond (Doc. No. 273). The Court requires expedited briefing on the Motion. Respondent

shall file a response on or before Tuesday August 11, 2020. Petitioner’s reply, if any, must

be filed by Thursday August 13, 2020.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 4th day of August, 2020.




                                   HON. KEITH P. ELLISON
                                   UNITED STATES DISTRICT JUDGE




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